         19-13895-jlg      Doc 336     Filed 10/21/20 Entered 10/22/20 00:16:03                  Imaged
                                      Certificate of Notice Pg 1 of 6
                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF NEW YORK
                                              One Bowling Green
                                           New York, NY 10004−1408


IN RE: Orly Genger                                        CASE NO.: 19−13895−jlg

Social Security/Taxpayer ID/Employer ID/Other Nos.:       CHAPTER: 7
xxx−xx−8893




                 NOTICE TO ALL CREDITORS AND INTERESTED PARTIES



Please be advised that the following matter scheduled for 10/21/2020 has been adjourned to 10/30/2020 at 11:00 a.m.:

Doc # 293 Motion to Compel by Thomas Pitta re: Common Interest Privilege filed by Beth Claire Khinchuk on
behalf of Sagi Genger.



Dated: October 19, 2020                                      Vito Genna
                                                             Clerk of the Court
                 19-13895-jlg             Doc 336         Filed 10/21/20 Entered 10/22/20 00:16:03                                      Imaged
                                                         Certificate of Notice Pg 2 of 6
                                                              United States Bankruptcy Court
                                                              Southern District of New York
In re:                                                                                                                 Case No. 19-13895-jlg
Orly Genger                                                                                                            Chapter 7
       Debtor(s)
                                                     CERTIFICATE OF NOTICE
District/off: 0208-1                                                  User:                                                                       Page 1 of 5
Date Rcvd: Oct 19, 2020                                               Form ID: 143                                                              Total Noticed: 51
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Oct 21, 2020:
Recip ID                   Recipient Name and Address
db                     +   Orly Genger, 210 Lavaca St., Unit 1903, Austin, TX 78701-4582
aty                    +   Brian Talbot Cumings, Graves Dougherty Hearon & Moody, PC, 401 Congress Ave, Suite 2700, Austin, TX 78701-3736
aty                    +   Constantine Dean Pamphilis, Kasowitz Benson Torres LLP, 1415 Louisiana Street, Suite 2100, Houston, TX 77002-7344
aty                    +   Danielle Nicole Rushing, Dykema Gossett, PLLC, 112 E Pecan St, Suite 1800, San Antonio, TX 78205-1521
aty                    +   Graves Dougherty Hearon & Moody P.C., 401 Congress Ave, Suite 2700, Austin, TX 78701-3736
aty                    +   Michael Bowen, Kasowitz Benson Torres LLP, 1633 Broadway, New York, NY 10019-6708
aty                    +   Michael Paul Bowen, Kasowitz Benson Torres LLP, 1633 Broadway, New York, NY 10019-6708
aty                        Raymond W. Battaglia, Oppenheimer, Blend, Harrison & Tate, Inc, 711 Navaro, Sixth Floor, San Antonio, TX 78205
aty                    +   Ryan Brent DeLaune, CLARK HILL STRASBURGER, 901 Main St #6000, Dallas, TX 75202-3748
aty                    +   Shelby A. Jordan, Jordan Hyden Womble Culbreth & Holze, PC, 500 N Shoreline Suite 900 N, Corpus Christi, TX 78401-0341
smg                        N.Y. State Unemployment Insurance Fund, P.O. Box 551, Albany, NY 12201-0551
smg                        New York City Dept. Of Finance, 345 Adams Street, 3rd Floor, Attn: Legal Affairs - Devora Cohn, Brooklyn, NY 11201-3719
smg                    +   United States Attorney's Office, Southern District of New York, Attention: Tax & Bankruptcy Unit, 86 Chambers Street, Third Floor, New
                           York, NY 10007-1825
intp                   +   D&K GP LLC, c/o Jordan Holzer & Ortiz, PC, 500 N. Shoreline Blvd., Suite 900, Corpus Christi, TX 78401-0341
intp                       Dalia Genger, c/o Jordan, Holzer & Ortiz, 500 N SHORELINE BLVD, STE 900, CORPUS CHRISTI, TX 784010341
cr                     +   SureTec Insurance Company, 5555 Garden Grove Boulevard, Suite 275, Westminster, CA 92683-8229
cr                         TPR Investment Associates, Inc., c/o Streusand Landon Ozburn & Lemmon, 1801 S. MoPac Expressway, Suite 320, Austin, TX 78746
7652403                +   ADBG LLC, c/o Hughes Hubbard & Reed LLP, Attn. Chr, One Battery Park Plaza, New York, NY 10004-1405
7652391                +   Arie Genger, 19111 Collins Ave., Apt. 706, Sunny Isles, FL 33160-2379
7671181                +   CULLEN & DYKMAN LLP, Counsel for Michael Oldner, 100 Quentin Roosevelt Boulevard, Garden City, NY l 11530-4850
7652408                +   D&K GP LLC, Law Office of Ira Daniel Tokayer, Esq., 420 Lexington Avenue, Suite 2400, New York, NY 10170-2499
7652407                +   Dalia Genger, Law Office of Ira Daniel Tokayer, Esq., 420 Lexington Avenue, Suite 2400, New York, NY 10170-2499
7668638                +   Elizabeth M. Aboulafia, Esq., Cullen and Dykman, LLP, 100 Quentin Roosevelt Boulevard, Garden City, New York 11530, Telephone:
                           (516) 357-3700 Email:eaboulafia@cullenllp.com 11530-4850
7652396                +   Emmt Marvin & Martin LLP, 120 Broadway 32nd Fl, New York NY 10271-3291
7652397                +   Eric Herschmann, c/o Raymond Battaglia, 66 Granburg Circle, San Antonio TX 78218-3010
7652392                +   Eric Herschmann, 210 Lavaca St., Unit 1903, Austin, TX 78701-4582
7706824                +   Foley & Lardner LLP, Attorneys for Dalia Genger, 90 Park Avenue, New York, NY 10016-1301
7652404                +   Genger Litigation Trust, Genger Litigation Trust, Attn. David Bro, 104 West 40th Street, 19th Floor, New York, NY 10018-3628
7653363                    Hughes Hubbard & Reed LLP, Attorneys for ADBG LLC, One Battery Park Plaza, New York, NY 10004-1482
7654166                +   Ira Daniel Tokayer, Esq., 420 Lexington Avenue, Suite 2400, New York NY 10170-2499
7663045                +   Kasowitz Benson Torres LLP, Attn: Matthew B. Stein, 1633 Broadway, Floor 21, New York, NY 10019-6708
7652401                +   Kasowitz, Benson, Torres LLP, c/o Daniel Benson Esq, 1633 Broadway 21st Fl, New York NY 10019-6708
7652406                +   Orly Genger, Law Office of Ira Daniel Tokayer, Esq., 420 Lexington Avenue, Suite 2400, New York, NY 10170-2499
7652405                +   Orly Genger, Law Office of Ira Daniel Tokayer, Esq., 420 Lexington Avenue, Suite 4200, New York, NY 10170-2499
7663044                +   Orly Genger 1993 Trust,, Michael Oldner, Trustee, Pollock Cohen LLP, 60 Broad St., 24th Fl., New York, NY 10004-2342
7736210                +   Paul J. Labov, Esq., PACHULSKI STANG ZIEHL & JONES LLP, 780 Third Avenue, 34th Floor, New York, New York 10017-2024
7654822                +   Pollock Cohen LLP, Attorneys for The Orly Genger 1993 Trust, 60 Broad St., 24th Fl., New York, NY 10004-2342
7664810                +   REITLER KAILAS & ROSENBLATT LLC, Attorneys for Orly Genger, 885 Third Avenue, 20th Floor, New York, New York 10022, (
                           10022-4834
7663048                +   Sagi Genger, c/o Thomas A. Pitta, Emmt Marvin & Martin LLP, 120 Broadway 32nd Fl, New York, NY 10271-3291
7652402                +   SureTec Insurance Co, c/o Clark Hill Strasburger, 901 Main St #6000, Dallas TX 75202-3748
7691733                +   SureTec Insurance Company, Clark Hill, Attn: Ryan B. DeLaune, 901 Main St Ste 6000, Dallas, TX 75202-3748
7652400                +   The Orly Genger 1993 Trust, c/o Jay H Ong, Munsch Hardt Kopf & Harr PC, 303 Colorado St #2600, Austin TX 78701-0021
7693338                +   The Orly Genger 1993 Trust, Michael Oldner, Truste, c/o Pollock Cohen LLP, 60 Broad St., 24th Flr., NewYork,NY 10004-2342
7652984                +   Togut, Segal & Segal LLP, Co-Counsel to Arie Genger, One Penn Plaza, Suite 3335, New York, New York 10119-3335
7652395                +   Zeichner Ellman & Krause LLP, 1211 Avenue of the Americas, 40th Floor, New York, NY 10036-6149
                 19-13895-jlg            Doc 336          Filed 10/21/20 Entered 10/22/20 00:16:03                                      Imaged
                                                         Certificate of Notice Pg 3 of 6
District/off: 0208-1                                                  User:                                                                      Page 2 of 5
Date Rcvd: Oct 19, 2020                                               Form ID: 143                                                             Total Noticed: 51
TOTAL: 45

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
smg                       Email/Text: nys.dtf.bncnotice@tax.ny.gov
                                                                                        Oct 19 2020 19:30:00      New York State Tax Commission,
                                                                                                                  Bankruptcy/Special Procedures Section, P.O. Box
                                                                                                                  5300, Albany, NY 12205-0300
7652398                + Email/Text: dwilliamson@coxsmith.com
                                                                                        Oct 19 2020 19:29:00      Arie Genger, c/o Deborah D. Williamson, Dykema
                                                                                                                  Gossett PLLC, 112 East Pecan St #1800, San
                                                                                                                  Antonio, TX 78205-1521
7658470                + Email/Text: pdelrio@emmetmarvin.com
                                                                                        Oct 19 2020 19:29:00      EMMET, MARVIN & MARTIN, LLP, 120
                                                                                                                  Broadway, 32nd Floor, New York, New York
                                                                                                                  10271-3291
7652393                   Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                        Oct 19 2020 19:29:00      Internal Revenue Service, P.O. Box 21126,
                                                                                                                  Philadelphia, PA 19114
7663031                + Email/Text: pdelrio@emmetmarvin.com
                                                                                        Oct 19 2020 19:29:00      TPR Investment Associates, Inc., C/O Emmet
                                                                                                                  Marvin & Marvin LLP, 120 Broadway, New York,
                                                                                                                  NY 10271-0002
7652394                + Email/Text: ustpregion07.au.ecf@usdoj.gov
                                                                                        Oct 19 2020 19:29:00      United States Trustee, 903 San Jacinto, Ste. 230,
                                                                                                                  Austin, TX 78701-2450

TOTAL: 6


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
aty                            Michael Bowen
cr                             ADBG LLC
cr                             Arie Genger
cr                             Eric Herschmann
intp                           Kasowitz Benson Torres LLP
cr                             Kasowitz Benson Torres LLP
cr                             Sagi Genger
intp                           The Orly Genger 1993 Trust
unk                            Zeichner Ellman & Krause LLP
7653365                        ADBG LLC

TOTAL: 10 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                     NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Oct 21, 2020                                           Signature:            /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on October 19, 2020 at the address(es) listed
                  19-13895-jlg    Doc 336        Filed 10/21/20 Entered 10/22/20 00:16:03                                 Imaged
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District/off: 0208-1                                         User:                                                                   Page 3 of 5
Date Rcvd: Oct 19, 2020                                      Form ID: 143                                                          Total Noticed: 51
below:
Name                        Email Address
Aaron Michael Kaufman
                            on behalf of Creditor Arie Genger akaufman@grayreed.com pelliott@dykema.com

Adam Pollock
                            on behalf of Plaintiff Orly Genger 1993 Trust adam@pollockcohen.com

Adam Pollock
                            on behalf of Defendant Orly Genger 1993 Trust adam@pollockcohen.com

Adam Pollock
                            on behalf of Plaintiff Michael Oldner as Trustee of The Orly Genger 1993 Trust adam@pollockcohen.com

Adam Pollock
                            on behalf of Interested Party The Orly Genger 1993 Trust adam@pollockcohen.com

Beth Claire Khinchuk
                            on behalf of Plaintiff Sagi Genger bkhinchuk@emmetmarvin.com

Beth Claire Khinchuk
                            on behalf of Defendant Sagi Genger bkhinchuk@emmetmarvin.com

Beth Claire Khinchuk
                            on behalf of Creditor Sagi Genger bkhinchuk@emmetmarvin.com

Beth Claire Khinchuk
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Christopher Gartman
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Christopher Gartman
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Christopher Gartman
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Christopher Gartman
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Christopher K. Kiplok
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Deborah Piazza
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                            sdineen@tarterkrinsky.com;N256@ecfcbis.com;dpiazza@iq7technology.com;ecf.alert+Piazza@titlexi.com

Deborah Piazza
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Deborah D. Williamson
                            on behalf of Creditor Arie Genger dwilliamson@dykema.com rcolbath@dykema.com

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Elizabeth Aboulafia
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Elizabeth Aboulafia
                            on behalf of Interested Party The Orly Genger 1993 Trust eaboulafia@cullenanddykman.com

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Frank A. Oswald
                            on behalf of Creditor Arie Genger frankoswald@teamtogut.com
                            dperson@teamtogut.com;dcahir@teamtogut.com;ewu@teamtogut.com;arodriguez@teamtogut.com;kscott@teamtogut.com

Ira Daniel Tokayer
                            on behalf of Interested Party Dalia Genger imtoke@mindspring.com

Ira Daniel Tokayer
                   19-13895-jlg    Doc 336        Filed 10/21/20 Entered 10/22/20 00:16:03                                     Imaged
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Date Rcvd: Oct 19, 2020                                       Form ID: 143                                                        Total Noticed: 51
                             on behalf of Plaintiff D&K GP LLC imtoke@mindspring.com

Ira Daniel Tokayer
                             on behalf of Interested Party D&K GP LLC imtoke@mindspring.com

Ira Daniel Tokayer
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Jay H. Ong
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                             on behalf of Plaintiff Sagi Genger jdellaportas@emmetmarvin.com

John Dellaportas
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John Dellaportas
                             on behalf of Defendant Sagi Genger jdellaportas@emmetmarvin.com

John Dellaportas
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John Dellaportas
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Michael Bowen
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Michael Bowen
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Michael Bowen
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Michael T. Sullivan
                             on behalf of Unknown Zeichner Ellman & Krause LLP msullivan@sullivanlaw.com rlombardo@sullivanlaw.com

Paul J. Labov
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Paul J. Labov
                             on behalf of Interested Party Dalia Genger plabov@pszjlaw.com plabov@foley.com

Rocco A. Cavaliere
                             on behalf of Defendant Deborah J. Piazza rcavaliere@tarterkrinsky.com snobles@tarterkrinsky.com

Rocco A. Cavaliere
                             on behalf of Trustee Deborah Piazza rcavaliere@tarterkrinsky.com snobles@tarterkrinsky.com

Sabrina L. Streusand
                             on behalf of Creditor TPR Investment Associates Inc. streusand@slollp.com, prentice@slollp.com

Sabrina L. Streusand
                             on behalf of Plaintiff TPR Investment Associates Inc. streusand@slollp.com, prentice@slollp.com

Sabrina L. Streusand
                             on behalf of Plaintiff Sagi Genger streusand@slollp.com prentice@slollp.com

Sabrina L. Streusand
                             on behalf of Creditor Sagi Genger streusand@slollp.com prentice@slollp.com

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Thomas A. Pitta
                             on behalf of Creditor TPR Investment Associates Inc. tpitta@emmetmarvin.com, pdelrio@emmetmarvin.com

Thomas A. Pitta
                             on behalf of Creditor Sagi Genger tpitta@emmetmarvin.com pdelrio@emmetmarvin.com

Thomas A. Pitta
                             on behalf of Plaintiff Sagi Genger tpitta@emmetmarvin.com pdelrio@emmetmarvin.com
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Date Rcvd: Oct 19, 2020                                    Form ID: 143                                                        Total Noticed: 51
United States Trustee
                          USTPRegion02.NYECF@USDOJ.GOV

Yann Geron
                          on behalf of Debtor Orly Genger ygeron@reitlerlaw.com
                          ygeronnys@ecf.axosfs.com;jlitos@reitlerlaw.com;nsantucci@reitlerlaw.com;jtrainor@reitlerlaw.com;asuffern@axosfs.com;jrodri
                          guez@reitlerlaw.com;kmenendez@reitlerlaw.com


TOTAL: 55
